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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA



 SMARTMATIC USA CORP.,
 SMARTMATIC INTERNATIONAL
 HOLDING B.V., and SGO
 CORPORATION LIMITED,

                              Plaintiffs,
                       v.                       Case No. 22-cv-0098-WMW-JFD
 MICHAEL J. LINDELL and MY
 PILLOW, INC.,

                              Defendants.


DECLARATION OF MICHAEL E. BLOOM IN SUPPORT OF SMARTMATIC’S
       OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL

I, Michael E. Bloom, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

      1.       I am over the age of 18, I am competent to make this declaration, and I have

personal knowledge of the facts stated herein. These facts are true to the best of my

knowledge, information, and belief, and if called upon to testify as a witness, I could and

would testify competently to them.

      2.       I am a partner at the law firm Benesch, Friedlander, Coplan & Aronoff, LLP,

and I represent Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V.,

and SGO Corporation Limited (“Smartmatic”) in the above-captioned lawsuit.

      3.       Attached as Exhibit 1 is a true and correct copy of the Contract by and

between County Of Los Angeles and Smartmatic USA Corporation for Voting Solutions

for All People (VSAP) Implementation And Support Services.
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       4.       Attached as Exhibit 2 is a true and correct copy of SLI Compliance’s report

titled, “County of Los Angeles’ VSAP Tally 2.1 Software Test Report for California.”

       5.       Attached as Exhibit 3 is a true and correct copy of SLI Compliance’s report

titled. “Los Angeles County VSAP Tally 2.1 Security and Telecommunications Test

Report for California Secretary of State.”

       6.       Attached as Exhibit 4 is a true and correct copy of the California Secretary

of State’s (“SOS”) Conditional Approval of Los Angeles County’s Voting Solutions for

All People (VSAP) 2.1 Voting System.

       7.       Attached as Exhibit 5 is a true and correct copy of the California SOS’s

Administrative Approval of Los Angeles County’s VSAP 2.2 voting system.

       8.       Attached as Exhibit 6 is a true and correct copy of the Notice of Subpoena to

Los Angeles County that Defendants served on Smartmatic on February 7, 2023.

       9.       Attached as Exhibit 7 is a true and correct copy of the Notice of Subpoena to

the California SOS that Defendants served on Smartmatic on February 7, 2023.

       10.      Attached as Exhibit 8 is a true and correct copy of the Declaration of Michael

D. Owens in Support of County of Los Angeles’s Emergency Motion to Continue Hearing

and for Leave to Oppose Motion, filed in Election Systems & Software, LLC v. Smartmatic

USA, Corp., No. 18-cv-01259 (D. Del.) (ECF No. 93).

       11.      Attached as Exhibit 9 is a true and correct copy of the report published by

the Los Angeles County Registrar-Recorder/County Clerk titled, “Voting Solutions For All

People Final Report.”



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       12.    Attached as Exhibit 10 is a true and correct copy of a webpage published by

the Los Angeles County Registrar-Recorder/County Clerk titled, “BMD Ballot Security.”

       13.    Attached as Exhibit 11 is a true and correct copy of the report published by

Los Angeles County Registrar-Recorder/County Clerk titled, “Voting Solutions for All

People Use Procedures.”

       14.    Attached as Exhibit 12 is a true and correct copy of the report published by

the California SOS titled, “Supplement to the Statement of Vote, November 3, 2020

General Election Statewide Summary by County for President.”

       15.    Attached as Exhibit 13 is a true and correct copy of the voting results by

County for the 2016 Presidential Election, published by the California Secretary of State.

       16.    I informed representatives of Los Angeles County of the discovery requests

at issue in Defendants’ Motion to Compel, and they informed me that Los Angeles County

would not make any potentially responsive materials available to Smartmatic for the

purpose of production to Defendants in this lawsuit.

I declare under penalty of perjury under the laws of the United States that the foregoing is
true and correct.



                                           ____________________________________
                                           Michael E. Bloom


Executed on February 16, 2023.




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